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                     EXHIBIT 8
         Case 2:18-cv-12759-MAG-APP ECF No. 119-9 filed 04/28/20                                                               PageID.1552                Page 2 of 3
                                     DMC AUTHORIZATION FOR RELEASE OF INFORMATION/LIABILITY




                                                                                        *S8




      El-Khalil. Ali A„ D.P.M.                                                                                                 /

      Full Name (PLEASE PRINT)                                                                                                           Date

              For purposes of this authorization, "hospilal(s)", means The                              Practitioner Data Bank concerning my competence and qualifications
    Detroit Medical Center ("DMC"), each Detroit Medical Center hospital(s),                            which hospital(s) has at the time of my application for medical staff
    DMC CARE (DMC owned and/or affiliated managed care plans), "any entity                              appointment(s) or hereafter acquires;
    for which DMC performs delegated credentialing or recredentialing
    services"   DMC Professional Liability Program ("DMC PLP"), DMC                               E     I release from all liability the hospital(s) and all third parties from any
    Physicians Group to which I am applying for medical staff(s) privileges                             statements made or any action taken in good faith and without malice in
    and/or membership and includes members of its board of trustees, its medical
                                                                                                       connection with this application or any other applications made
staff(s), its administration and any other employee or agent of the hospital(s)                        simultaneously herewith, and in connection with any proceedings for
having responsibility for collecting information, evaluating my competence
                                                                                                       reappointment, and/or clinical privileges (including the granting,
and qualifications; or acting upon this application; "Information" includes all                        extension, reduction, suspension or termination thereof), or in connection
records, documents, medical records, and otherwise privileged or confidential                          with a transfer to any other department or section of the medical staff(s),
information; "Competence and qualifications" including clinical              ability,                  or in connection with any other form of review of my qualifications and
professional ethics, character, physical and mental health, emotional stability,                       competence or of my professional practices in the hospital(s) conducted
ability to work with others, and moral and other qualifications for medical                             in accordance with the medical staffts) bylaws;
staff appointment(s), reappointment(s) and clinical privileges; and "third-
parties" include without limitation (i) other hospitals and their trustees,                       UNDERSTANDING & COMMITMENT'
directors, employees or agents, medical staffs and associations, (ii) licensing
boards, (iii) other organizations and persons concerned with provider or                          F    1 express my willingness to appear for interviews with all individuals and
physician performance or the quality and efficiency of patient care, (iv)                              before all committees of the medical staffts) which may be requested of
malpractice carriers and other providers of professional liability coverage, and                       me by hospital(s) in regard to my application.
(v) the National Practitioner Data Bank.

                                                                                                  G    I acknowledge that I have received, or been given access to. the bylaws of
AUTHORIZATION                                                                                          the medical staffts) and articles of incorporation and bylaws of the
                                                                                                       hospital(s) to which 1 have applied.
By applying for appointment or reappointment to the medical staffts) of the
hospital(s):                                                                                      H    I agree to abide by the bylaws of the medical staffts), and for clinical
                                                                                                       privileges, and by such rules and regulations as the medical staffts) or any
A      I authorize the hospital(s) to consult with all third parties with whom or                      department thereof may from time to time enact, as the same may be
       which    I have been associated concerning my competence and                                    amended from time to time. If I am granted appointment or clinical
       qualification, or with any third parties who may have information bearing                       privileges at the hospital(s), I agree to conform to the then current articles
       thereon (including malpractice carriers and defense counsel), and to                            of incorporation and bylaws of the hospital(s), their policies, including the
       receive and utilize any information received in response thereto, and to                        DMC Code of Conduct. Further I agree to complete compliance and
       inspect    any   and   all   information which   may be   material   to   my                    sexual harassment prevention training required during the term of my
       qualifications and competence and I hereby release all third parties who                        appointment. Whether or not I am granted appointment or clinical
       provide information to hospital(s), from any and all liability for the                          privileges at the hospital(s), I agree to be bound by the Medical Staff and
       transmittal in good faith and without malice of any information bearing                         hospital(s) rules and policies in all matters relating to the consideration of
       on my qualifications and competence; in connection with any such                                my application for appointment and reappointment;
       request for but not limited to appointment and reappointment of medical
       staffts) privileges and/or membership;                                                 I        If I am granted staff appointment(s) and clinical privileges, I agree to
                                                                                                       abide by all ethical requirements of the bylaws of the medical staffts),
B      If the hospital(s) seek to gather information relating to my competence                         including, without limitation, the requirement to provide for continuous
       and qualifications from current or prior professional liability claims in                       care and supervision of my patients. I pledge to maintain the highest
      which I am or was represented by counsel, I hereby waive any attorney-                          ethical standards and to abide by the codes and principles of ethics of my
      client privilege, whether such privilege is granted by the statues or case                      state and national professional societies and associations.
       law of the State of Michigan or any other jurisdiction, and I hereby
      release any attorney or other person from any and all liability in                               I further agree to abide by the professional practice act of the State of
      connection with the release of such information to the hospital(s).                             Michigan under which I am licensed.  I pledge to maintain the standards
                                                                                                      of, and meet the requirements of, the Michigan Department of Public
C     1 authorize and release the hospital(s) from all liability for forwarding to                    Health and the Joint Commission on Accreditation of Healthcare
      any other hospital(s) or entity to which I may apply for privileges any                         Organizations, so that hospital(s) may receive full licensure and
      information concerning me, my competence and qualifications, as                                 accreditation at all times. I agree that I will not participate in any form of
      hospital(s) has at the time of my application for appointment or hereafter                      fee splitting. In complying with this principle, I understand that I am not
      acquires in accordance with the medical staffts) bylaws;                                        to collect fees for others referring patients to me, nor permit other
D     I authorize and release the Itospital(s) from all liability for forwarding to                   physicians or surgeons to
      any affiliate of the hospital(s) copies of my application for appointment                        collect fees from me;
      and/or membership including all attachments, and if appointed to the
      medical staffts) of hospital(s), any and all information regarding any                  J       I agree that the decision of the board of trustees on this or any other
      proceedings or action taken by hospital(s) regarding appointment,                               application or proceeding concerning my appointment(s) or privileges
      reappointment, and/or clinical privileges (including die granting,                              shall be final and binding;
      extension, reduction, suspension or termination thereof), utilization
      review     of quality assurance information     and any other information               K       I agree to keep the hospital(s) informed of the status, and any changes in
      including without       limitation information received from the National                       status, of professional liability coverage and professional liability claims

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           thai may from time to time be brought against me. I also agree
                                                                           to keep             1'     I understand that under the Health Care Quality Improvement
           the hospital(s) informed of any adverse actions taken or proposed                                                                                      Act of
                                                                             to be                    1986, as amended, the hospital(s) are required to query
          taken against me by peer review organizations, the state licensing                                                                                  the National
                                                                             board,                   Practitioner Data Hank and to include the response from that agency
          and other hospital(s) or health care entities with which                                                                                                        in
                                                                        I am also                     the materials to be reviewed by persons involved in the
          affiliated;                                                                                                                                               credcntialing
                                                                                                      process.   1 also understand that tlie hospital(s) arc required by law
                                                                                                                                                                               to
                                                                                                      advise (he National Practitioner Data Hank of any adverse action
     L     I agree that, in connection with the health history requested                                                                                                which it
                                                                         in this                     takes with regard to a physician or dentist's application for staff privileges
          application an in any situation in which my physical or mental health
                                                                                 is at               (i.e.   active, courtesy),   application
          issue, I will waive, in favor of the hospital(s), its agents and employees                                                            for increase   of privileges,   if the
                                                                                     ,               hospital(s) decisions are based upon a physician or dentist's
          and all members of its board of trustees, administration                                                                                                 level of
                                                                   and medical                       competency or upon any act of improper professional conduct.
          staff(s), any medical or physician-patient privilege relating                                                                                                   1
                                                                         to such                     understruid that the hospital(s) have elected to comply with
          physical or mental condition, whether such privilege is granted                                                                                         the voluntary
                                                                           by the                    or permissive reporting of any action taken by the hospital(s) with
          statues or case law of the State of Michigan or any other jurisdiction                                                                                         regard
                                                                                 , or is             to applications of licensed health care practitioners other than
          granted by the provisions of federal regulations relating to alcohol                                                                                        physicians
                                                                               and                   and dentists.  For purposes of Health Care Quality Improvement Act an
          drug abuse. 1 do agree to release, and I do hereby release any
                                                                            physician,               adverse action includes, but is not necessarily limited to
          hospital(s) or other person or entity providing such information                                                                                         a decision to
                                                                           , from any                deny privileges, or to grant privileges at a lower level than
          and all liability for the release of any information which, except                                                                                        applied for,
                                                                              for such               where the decision is based upon an evaluation or competence or
          waiver, would be privileges and confidential; I further agree to                                                                                           an act of
                                                                           facilitate                improper professional conduct.
          the release of such information by providing appropriate                                                                        I further understand that the hospital(s)
                                                                   release and                       may query and/or report to any other data bank or agency which
          authorization forms; I understand that, in the event that any physician                                                                                   may be
                                                                                    or               required by Federal or Stale law, and include responses from
          hospital(s) continues to refuse to provide such information, the hospital(s)                                                                             such queries
                                                                                                     in the materials to be reviewed by persons involved in the
          shall give no further consideration to my application for                                                                                               credcntialing
                                                                              a staff                process.
          appointment(s) or membership, and privileges, if previously
                                                                      granted, shall
          be terminated;
                                                                                           Q         In the event 1 am applying to participate in DMC owned and/or
                                                                                                                                                                      affiliated
                                                                                                     managed care plans, I understand that references in this Authorizat
  M      1 further specifically acknowledge that the provisions of                                                                                                       ion for
                                                                   the medical                       Release of Information form to medical staff "appointm
         staffs) relating to confidentiality and release from liability are                                                                                         cnt(s)" or
                                                                            express                 "reappointment(s)" to the medical staff(s) shall be deemed
         conditions of my application for, and acceptance of, medical                                                                                              to mean
                                                                               staff                designation as a participating member of DMC owned and/or
         appointment(s) and the continuation of such appointment(s) and                                                                                            affiliated
                                                                             to my                  managed care plans. I understand, unless otherwise indicated, any
         exercise of clinical privileges;                                                                                                                              DMC
                                                                                                    employed and/or faculty physician will be considered as applying
                                                                                                                                                                           for
                                                                                                    membership in DMC owned and affiliated managed care
 N       1 understand and agree that 1, as an applicant for a medical                                                                                   plans. I also
                                                                      staff                         understand that references to "medical staffs) bylaws" shall be deemed
         appointment(s), have the burden of producing adequate information                                                                                                 to
                                                                           for                      mean the DMC owned and/or affiliated managed care
         proper evaluation of my competence and qualifications, and for                                                                               plan participation
                                                                        resolving                   and/or appointment standards, whether in the form of medical
         any doubts about such competence and qualifications;                                                                                                    staffs)
                                                                                                    bylaws, rules, regulations or otherwise; and

 O       1 understand that 1 am obligated to disclose in the above application
                                                                                all        R        I understand that the term "Detroit Medical Center Hospitals"
         information which would be material to my being granted a                                                                                                shall mean
                                                                     medical staff                  and include Children's Hospital of Michigan, Detroit Receiving
         appointment(s) of this hospital(s), and further understand                                                                                                Hospital
                                                                         that any                   and University Health Center, Harper Hospital, Huron
         misstatement(s) in, or omission(s) from, this application will                                                                                               Valley Sinai
                                                                        constitute                  Hospital, llutzcl Hospital, Rehabilitation Institute of Michigan, and
         cause for denial of appointment, reappointment, or cause                                                                                                         Sinai-
                                                                    for summary                     Grace Hospital, any successors and assignees of the foregoing,
         dismissal from the medical stalT(s);                                                                                                                      and any
                                                                                                    other designee of The Detroit Medical Center for credcntialing
                                                                                                                                                                   for the
                                                                                                    purposes of managed care plans.

 I hereby represent that all information su^mitted.by-me
                                                         in thjsjpplication is true and complete to the best of my
                                                                                                                   knowledge and belief.


 Signature of Applicant
 JCC 2.26.08 (revised) "                                                                                                           Date


 ATTACHMENT A




El-Khalil, Ali A., D.P.M./ 010172
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